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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                           CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                    CLERK OF COURT

Date: August 02, 2023                                          DC Docket #: 22-cv-3489
Docket #: 23-370pr                                             DC Court: SDNY (NEW YORK
Short Title: Margolies v. United States of America             CITY)DC Docket #: 1:19-cr-178-
                                                               1
                                                               DC Court: SDNY (NEW YORK
                                                               CITY)
                                                               DC Judge: Wood




                  NOTICE OF MOTION PLACED ON THE CALENDAR



A motion for a certificate of appealability filed in the above-referenced case has been added as a
submitted case to the substantive motions calendar for Tuesday, August 15, 2023.

Inquiries regarding this case may be directed to 212-857-8595.
